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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

MOXCHANGE LLC,                                  )
                                                )
                      Plaintiff,                )
                                                )
       v.                                       )   C.A. No. 22-397 (GBW)
                                                )
CARESTREAM HEALTH, INC.,                        )
                                                )
                      Defendant.                )

                                   NOTICE OF SERVICE

       The undersigned hereby certifies that copies of Defendant Carestream Health, Inc.'s Initial

Disclosures Pursuant to Fed. R. Civ. P. 26(a)(1) and Paragraph 3 of the Default Standard for

Discovery were caused to be served on September 14, 2022, upon the following in the manner

indicated:

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September 14, 2022




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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 14, 2022, I caused the foregoing to be electronically

filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

September 14, 2022, upon the following in the manner indicated:

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